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                            IN UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No.: 1:16-cv-02792- KMT

Paul Montgrain,

        Plaintiff/Movant,

Medicredit, Inc.,

        Defendant.


                               STIPULATION OF DISMISSAL



       WHEREAS, the parties to the above-entitled action have resolved the issues alleged in

the complaint in this action, and have negotiated in good faith for that purpose; and

       WHEREAS, none of the parties to the above-captioned action is an infant or incompetent

person; and

       WHEREAS, the parties in the above-captioned action wish to discontinue the litigation;

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

is hereby dismissed in its entirety with prejudice and without costs to any party.

 Paul Montgrain                                Medicredit, Inc.

 ___/s/ Jenny DeFrancisco__________            _/s/ Jamie N. Cotter ___________

 Jenny DeFrancisco, Esq.                       Jamie N. Cotter, Esq.
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_____________________________
SO ORDERED
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on February 23, 2017, a true and correct copy of the foregoing
Stipulation of Dismissal was served electronically by the U.S. District Court for the District of
Colorado Electronic Document Filing System (ECF) and that the document is available on the
ECF system.

Jamie N. Cotter, Esq.
SPENCER FANE LLP
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Denver, CO 80203
Attorney for Defendant

                                              By_/s/ Jenny DeFrancisco_________
                                                  Jenny DeFrancisco, Esq.




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